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                                  UNITEDSTATESDISTRICTC URT                                      FILED
                                SOUTHERN DISTRICT OF CALI RNI \
                                                                                             JUL 31 2020
UNITED STATES OF AMERICA,                                                                CLERK, U.S. DISTRICT COURT
                                                                  Case No. 20       t~2@B1J\¥Jl1cr oFcAuFoRN1A
                                                                                                                DEPUTY


                                              Plaintiff,
                         vs.
                                                                  JUDGMENT OF DISMISSAL

RODOLFO CARDENAS, JR.
AKA RODOLFO CARDENAS
                                           Defendant.


IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion of the Gov ernment for dismissal of this case, without prejudice; or

 •    the Court has dismissed the case for unnecessary delay; or


 •    the Court has granted the motion of the Government for dismissal, without prejudice; or


 •    the Court has granted the motion of the defendant for a judgment of acquittal; or


 •    a jury has been waived, and the Court has found the defendant not guilty; or


 •    the jury has returned its verdict, finding the defendant not guilty;

      of the offense( s) as charged in the Indictment/Information:
      Ct 1 - 21 :841(a)(1) - Possession of Methamphetam ine with Intent to Distribute (Felony)




 Dated:        7/31/2020
                                                                             G. Schopler
                                                                             Magistrate Judge
